                        LAW OFFICE OF ANTHONY CECUTTI
                              217 Broadway, Suite 707
                             New York, New York 10007
                               Phone: (212) 619-3730
                                Cell: (917) 741-1837
                                Fax: (212) 962-5037
                             anthonycecutti@gmail.com


                                       April 9, 2024

BY ECF
Chief Judge Laura Taylor Swain
United States District Judge
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

                  Re: United States v. Aimee Harris; 22 Cr. 457 (LTS)

Dear Chief Judge Swain:

        We write pursuant to the Court’s Order, dated April 8, 2024. Upon review of the ex
parte letter dated September 25, 2023, we object to its disclosure. Such correspondence
refers to attorney-client communications and as such, contain information that should not be
known to the Government.

        Thank you for your consideration.


                                             Respectfully submitted,

                                                    /s/

                                             Anthony Cecutti
                                             Kestine Thiele
